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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
       vs.                                           )                8:09CR3
                                                     )
ANTONIO FRAUSTO,                                     )                 ORDER
JOSE RIGOBERTO FRAUSTO-DIAZ and                      )
JORGE ALBERTO HERNANDEZ-CAMPOS,                      )
                                                     )
                      Defendants.                    )

       This matter is before the court on the government's motion for extension of time to
provide discovery (Doc. 40), and the Objection (Doc. 41) filed by defendant Antonio Frausto.
The court finds that the government has shown good cause for the extension requested.

       IT IS ORDERED:

       1. The motion for extension of time (Doc. 40) is granted, and defendant's Objection
(Doc. 41) is overruled. The United States is given until and including February 13, 2009
to provide discovery in accordance with paragraph 2 of the Progression Order (Doc. 14).

        2. The deadline for filing pretrial motions is extended to February 27, 2009 as to
all defendants.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between February 6, 2009 and February 13, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED February 9, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
